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                                                                          7                              IN THE UNITED STATES DISTRICT COURT
                                                                          8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9
                                                                         10   LISA MARIE DITLEVSON,                              No. C 15-3977 MMC
                               For the Northern District of California




                                                                         11                 Plaintiff,                           ORDER OF DISMISSAL
United States District Court




                                                                                v.
                                                                         12
                                                                              LEGAL EXPRESS, LTD., et al.,
                                                                         13
                                                                                            Defendants
                                                                         14                                                /
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                                                                         16          The court-appointed mediator having advised the Court that the parties have agreed

                                                                         17   to a settlement of this cause,

                                                                         18          IT IS HEREBY ORDERED that plaintiff’s claims alleged against defendants herein

                                                                         19   be dismissed without prejudice; provided, however, that if any party hereto shall certify to

                                                                         20   this Court, within ninety days, with proof of service of a copy thereof on opposing counsel,

                                                                         21   that the agreed consideration for said settlement has not been delivered over, the

                                                                         22   foregoing Order shall stand vacated and this cause shall forthwith be restored to the

                                                                         23   calendar for further proceedings as appropriate.

                                                                         24          IT IS SO ORDERED.

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                                                                              Dated: July 1, 2016
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                                                                                                                                  MAXINE M. CHESNEY
                                                                         27                                                       United States District Judge

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